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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Matthew A. Gutierrez
                                                           Plaintiff,
v.                                                                      Case No.:
                                                                        1:15−cv−05121
                                                                        Honorable Manish S.
                                                                        Shah
Raise MarketPlace, Inc., f/k/a Coupon Trade, Inc., d/b/a
CouponTrade.com and Raise.com, et al.
                                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 10, 2015:


        MINUTE entry before the Honorable Manish S. Shah: The joint motion to approve
settlement and dismiss case without prejudice [12] is granted, and no appearance is
necessary. The court has reviewed the proposed confidential settlement agreement in
camera and finds that it is a fair, just, and reasonable settlement of a bona fide dispute
over payment for overtime under the FLSA. The settlement compromises plaintiff's claim,
but does so in a manner that fairly accounts for the risks of litigation. The case is
dismissed without prejudice with leave to reinstate by 1/4/16. If no motion to reinstate is
filed by 1/4/16, this dismissal will automatically convert to a dismissal with prejudice.
Terminate civil case. Notices mailed by Judicial Staff. (psm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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